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DA

DISTRICT COURT, WELD COUNTY, FIL
STATE OF COLORADO CAS

901 9th Avenue
Greeley, Colorado 80631

ING ID: 276D1879EEF1B
bE NUMBER: 2019CV30833

 

Plaintiff: BRIARWOOD EQUITY, LLC, a Colorado
limited liability company,

Vv.

Defendant: EQUIPMENTSHARE.COM, INC., a Delaware
corporation.

A COURT USE ONLY A

 

Attorneys for Plaintiff:
GOODSPEED & MERRILL

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Case No.:

Division:

 

 

COMPLAINT

 

 

 

Plaintiff Briarwood Equity, LLC (“Briarwood”), through its counsel, Goodspeed &

Merrill, hereby states its Complaint against Defendant Equipm

entshare.com, Inc. as follows:

PARTIES, VENUE, AND JURISDICTION

1, Briarwood is a Colorado limited liability company with its principal place of

business located at 200 Quebec Street, Building 300, Suite 111

Briarwood is in good standing and registered to do business in

, Denver, Colorado 80230.

the State of Colorado.

2. Defendant Equipmentshare.com, Inc. (“Defendant”) is a Delaware corporation

with its principal place of business located at 7131 Longview Drive, Fulton, Missouri 65251.

 

Ex. 1

 

 

 
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3. Venue is proper before this Court pursuant to the terms of the lease agreement at

issue and C.R.C.P. 98(c).

4. The Court has personal jurisdiction over Defendant pursuant to C.R.S. § 13-1-
124,

GENERAL ALLEGATIONS

5. Pursuant to a Triple-Net Lease dated January 30, 2019 (the “Lease”’), Defendant
leased from Briarwood certain commercial property located at 821 County Road 27, Brighton,
Colorado 80603 (the “Premises”). A true and correct copy of the Lease is attached hereto as

Exhibit 1.

6. Per the terms of the Lease, Defendant agreed to, among other things, pay
Briarwood specified base rent and common area operating expenses on a monthly basis, for an

initial term of 60 months, beginning on May 1, 2019.

7. Defendant assumed possession of the Premises and paid Briarwood the agreed

upon base rent for the months of May and June, 2019.

8. Defendant, however, ceased paying the stipulated monthly base rent thereafter,

and further failed to pay the agreed upon common area operating expenses for any month,

9. Briarwood made multiple demands that Defendant cure its failure to pay the past
due base rent and common area operating expenses owed to Briarwood. Despite those demands,
Defendant refused to provide base rent for July and August, 2019, or common area operating

expenses for May, June, July, and August, 2019.

10. Defendant’s failure to provide the agreed base rent and common area operating
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expenses were events of default under the Lease. Due to Defendant’s default, Briarwood

terminated the Lease, in accordance with the terms therein, effective August 31, 2019.

11. Defendant’s breach has caused Briarwood to suffer loss. Per the terms of the
Lease, Defendant is liable to Briarwood for the past due base rent and common area operating
expenses, a 6% percent late charge on those amounts, plus interest at the rate of 9.25% per

annum from the date of default until paid.

12. Defendant’s breach has also caused Briarwood to incur significant expenses
associated with obtaining possession and reletting the Premises. Briarwood is entitled to recover

those expenses from Defendant under the Lease.

13. The Lease further provides that Defendant is liable to Briarwood for the

reasonable attorneys’ fees it incurs in successfully enforcing its contractual rights.

14. Atall relevant times, Briarwood has materially performed in accordance with its
obligations under the Lease, and all conditions precedent to the initiation of this lawsuit have

been satisfied.

FIRST CLAIM FOR RELIEF
(Breach of Lease)

15. Briarwood incorporates the foregoing paragraphs of the Complaint as if fully
reinstated herein.

16, As evidenced by the Lease, a valid contract between Briarwood and Defendant existed.

17. Briarwood performed all conditions precedent to enforce its rights under the terms
of the Lease.

18. Defendant materially breached the Lease by, without limitation, failing to pay the
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base rent and common area operating expenses as agreed upon by the parties.

19. Asaresult of Defendant’s breach, Briarwood has been damaged in an amount to
be proven at trial, and which is within the jurisdictional limits of this Court.

20. Per the terms of the Lease, Briarwood is further entitled to recover its attorneys’
fees in enforcing the Lease.

SECOND CLAIM FOR RELIEF
(Declaratory Judgment)

21. Briarwood incorporates the foregoing paragraphs of the Complaint as if fully
reinstated herein.

22. C.R.C.P. 57 provides that any person interested under a written contract may have
determined any questions of construction or validity arising under the contract and obtain a
declaration of rights, status of other legal relations thereunder.

23. Pursuant to the Lease, Defendant guaranteed that it would remain liable for any
base rent and common area expenses it would have paid during the 60-month term to the extent
they are not provided in full by subsequent tenants of the Premises.

24. Defendant has repeatedly denied that it is bound by the above guaranty set out in
the Lease.

25, Briarwood seeks a declaration that, per the terms in the Lease, Defendant remains
liable for any amount of base rent and common area operating expenses it would have paid under
the Lease which Briarwood is unable to recover, despite diligent efforts, through reletting the
Premises to subsequent tenants, as well as costs and expenses incurred related thereto.

JURY DEMAND

Plaintiff respectfully demands a trial by jury on all issues so triable.
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WHEREFORE, Plaintiff Briarwood Equity, LLC respectfully requests that the Court
enter judgment in its favor and against Defendant Equipmentshare.com, Inc. in an amount to be
determined at trial, plus pre- and post- judgment interest and attorneys’ fees per the Lease, and
for a declaration binding Defendant to its guaranty under the Lease, and for such other and

further relief as the Court deems just and proper.

Respectfully submitted this 9" day of October 2019.

GOODSPEED & MERRILL

s/ Phillip L. Douglass

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Parker J. Smith, #48937

Attorneys for Plaintiff Briarwood Equity, LLC

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